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 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,          )    Case No. 2: 12-cr-00169-MCE
                                      )
12                    Plaintiff,      )    STIPULATION AND ORDER CONTINUING
                                      )    STATUS CONFERENCE
13        v.                          )
                                      )
14 NARCO MCFARLAND, et al.,           )
                                      )    DATE: February 28, 2013
15                    Defendants.     )    TIME: 9:00 a.m.
                                      )    COURT: Hon. Morrison C. England
16
                                    Stipulation
17
          The government and defendant NARCO MCFARLAND, through undersigned
18
     counsel, stipulate that the status conference, scheduled for February
19
     28, 2013, may be continued to April 11, 2013, at 9:00 a.m.             This case
20
     involves thousands of recorded wiretap calls and voluminous discovery.
21
     As such, the additional time requested in this stipulation is necessary
22
     so the defense counsel can continue review of the discovery and conduct
23
     investigation.
24
          Further, both parties agree and stipulate that the ends of justice
25
     served by granting this continuance outweigh the best interests of the
26
     public and the defendant in a speedy trial.        As such, the parties agree
27
     that time may be excluded from the speedy trial calculation under the
28

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 1 Speedy Trial Act for counsel preparation, pursuant to 18 U.S.C. §
 2 3161(h)(7)(B)(iv) and Local Code T4.
 3        The prosecutor has authorized the defense counsel for Latroy
 4 Cunningham to sign this stipulation on his behalf.
 5
 6 DATED: February 22, 2013                    BENJAMIN WAGNER
                                               United States Attorney
 7
                                      by       /s/ David D. Fischer, for
 8                                             Jason Hitt
                                               Assistant U.S. Attorney
 9
     DATED: February 22, 2013
10                                    by       /s/ David D. Fischer
                                               David D. Fischer
11                                             Attorney for Defendant
                                               Narco McFarland, Sr.
12
13
14                                      ORDER
15        Good cause appearing, the status conference, scheduled for
16 February 28, 2013, is continued to April 11, 2013, at 9:00 a.m.              The
17 Court finds that the ends of justice served by granting this
18 continuance outweigh the best interests of the public and the defendant
19 in a speedy trial in this case.         Time is excluded from the speedy trial
20 calculation pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
21 T4 for counsel preparation.
22        IT IS SO ORDERED.
23 DATED: March 6, 2013
24
25
26
                                    _____________________________________________
27
                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
28                                  UNITED STATES DISTRICT JUDGE

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